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AO 91 (Rev. 02/09) Criminal Complaint




               United States District Court
                                                                 for the
                                                       Western District of New York


                             United States of America
                                                                                           Case No. 24-mj-1204
                                              v.

                              PETER CELENTANO
                                          Defendant


                                                          CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.


                                                                 COUNT 1
                                                     (Illegal Possession of Machineguns)
        On or about September 29, 2024, in the Western District of New York, the defendant PETER CELENTANO
did knowingly possess machineguns, to wit: two (2) machinegun conversion devices used to modify semi-automatic
firearms to fire as fully automatic weapons, enabling said firearms to automatically shoot more than one shot without
manual reloading, by a single function of the trigger; and fifty-nine (59) AR-style lower receivers containing automatic
sear pin holes.

                  All in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).


          This Criminal Complaint is based on these facts:
          ց Continued on the attached sheet.


                                                                                                          Digitally signed by JOHN
                                                                         JOHN NOWAK                       NOWAK
                                                                                                          Date: 2024.10.17 10:37:31 -04'00'
                                                                                           Complainant’s signature
                                                                          JOHN J.C. NOWAK
                                                                          SPECIAL AGENT
                                                                          Bureau of Alcohol, Tobacco, Firearms, Explosives
                                                                                           Printed name and title
Criminal Complaint submitted electronically by e-mail in
.pdf format. Oath administered, and contents and signatures
attested to me as true and accurate telephonically pursuant
to Fed. R. Crim. P. 4.1.

Date: October 17, 2024                                                                                                           ______
                                                                                                     Judge’s signature
                                                                          HONORABLE JEREMIAH J. MCCARTHY
City and State: Buffalo, New York                                         UNITED STATES MAGISTRATE JUDGE
                                                                                                  Printed name and title
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                                          AFFIDAVIT



STATE OF NEW YORK )
COUNTY OF ERIE    )                 SS:
CITY OF BUFFALO   )



        I, JOHN J. NOWAK, Special Agent of The Bureau of Alcohol, Tobacco, Firearms

and Explosives (ATF), United States Department of Justice, having been duly sworn, state as

follows:



                                AGENT BACKGROUND

        1.    I am a Special Agent with ATF and as such I am an “investigative or law

enforcement officer” of the United States within the meaning of Section 2510(7) of Title 18,

United States Code, that is, an officer of the United States who is empowered by law to

conduct investigations of, and to make arrests for, offenses enumerated in Title 18, United

States Code, Section 2516(1), et seq. and Title 21, United States Code, Section 801. I further

state that I am the kind of Special Agent as delineated in Title 18 United States Code, Section

3051.



        2.    I have been an ATF Special Agent since January of 2021. I am assigned to the

Buffalo Field Office, New York Field Division. I am a graduate of the ATF National

Academy, and the Criminal Investigator Training Program located at the Federal Law

Enforcement Training Center in Glynco, Georgia. My primary duties as an ATF Special

Agent include investigating violations of federal firearms laws including illegal firearms
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trafficking, unlawful possession of firearms, and the possession of firearms during the

commission of drug trafficking crimes and crimes of violence.



       3.      During my time as an ATF Special Agent, I have participated in investigations,

including the execution of search warrants and arrest warrants where illegally

purchased/trafficked firearms, narcotics, electronic scales, packaging materials, cutting

agents, books/ledgers indicating sales, receipts, computers, cellular telephones, and other

items used to facilitate firearms and narcotics trafficking were seized. I have personally

conducted and/or assisted in investigations of criminal acts involving violations relating to

armed individuals that were involved in the distribution of controlled substances, including

heroin, cocaine, methamphetamine, and other substances, in violation of federal drug laws,

including Title 21, United States Code, Sections 841 and 846, and Title 18, United States

Code, Sections 922 and 924. Additionally, I have participated in interviews and debriefings

of individuals involved in firearms and narcotics trafficking. I am familiar with the habits,

methods, routines, practices, and procedures commonly employed by persons engaged in the

illegal trafficking of firearms and narcotics.



       4.      I make this affidavit in support of an application for a Criminal Complaint

charging Peter CELENTANO with violations of Title 18, United States Code, Sections

922(o) (illegal possession of machineguns) and 924(a)(2). I am thoroughly familiar with the

information set forth in this affidavit because of my personal investigation, discussions with

other law enforcement officers or statements provided by other law enforcement personnel,

which have been reported to me, and examination of various documents and records in this




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investigation. Based upon that information, I assert that the articulated facts establish

grounds for the issuance of a Criminal Complaint for Peter CELENTANO. This affidavit is

intended to show simply that there is sufficient probable cause for the requested Criminal

Complaint and does not set forth all of my knowledge about this matter. Where the contents

of documents and the actions, statements, and conversations of others are reported herein,

they are reported in substance and in part, except where otherwise indicated.



                       BACKGROUND OF THE INVESTIGATION

                      SEARCH WARRANT OF 23 ROCHESTER ST.

       5.     On September 29, 2024, New York State Police (NYSP), Genesee County

Sheriff’s Office, along with members of ATF, executed a New York State search warrant at

23 Rochester St. Bergen, NY 14416, the known residence of Peter CELENTANO. Members

of law enforcement approached the residence, knocked, and announced themselves. Law

enforcement was greeted by A.C., the wife of Peter CELENTANO, and her child. Law

enforcement removed A.C. and her child from the residence without incident, which allowed

law enforcement to clear the property and render it safe.



       6.     During the search of the residence, law enforcement recovered numerous

items, including but not limited to, two (2) 3D printed pistol frames, firearm parts and

accessories, ammunition reloading equipment, an AR 80% style Jig and drill (described below

in paragraph 7), a drill press, and various other tools related to the manufacturing of firearms.

Among the items recovered from the residence were two (2) additional 3D printed devices.

These devices were recovered within a black Apache weatherproof protective case from the



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upstairs closet adjacent from the bathroom. These devices, one (1) blue in color and one (1)

white in color, are consistent with the size and shape of machinegun conversion devices.



       7.      Your affiant is familiar with the 80% types of Privately Made Firearms, most

often referred to as “ghost guns” because they do not have serial numbers and cannot be

traced by ATF. ATF officially describes these firearms as Privately Made Firearms (PMF).

These firearm receivers are purchased legally, usually in on-line transactions, in a block form

and are only 80% finished, thus not making them an actual firearm as defined by federal law.

These receiver blocks are then completed with household tools (Drill, Rotary Tool. Etc.) being

drilled out and cut so that the internal parts of a firearm (springs, trigger assembly, etc.) can

be inserted.    The individual making these PMFs then purchases the other firearm

components (slide, barrel, trigger, etc.) to complete the firearm. Typically, these transactions

are done online with the manufacturer of Privately Made Firearms receiving the parts needed

for completion through common carriers or the United States Post Office.



       8.      Through my training and experience, I am familiar with conversion devices

similar to the two (2) recovered from the residence. I am further aware that such devices have

been designed and created for the sole purpose of converting semi-automatic AR-type

firearms into fully automatic machineguns. These devices vary by design, appearance, and

name, but all, when properly installed on a semi-automatic AR-type firearm, convert a semi-

automatic firearm into a fully-automatic firearm capable of firing more than one shot with a

single pull of the trigger. Once the device is placed in the receiver, the upper assembly is re-

attached to the receiver. The conversion process can take less than 60 seconds to complete.



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The installation of this device is designed so that the rear take-down pin lug in an AR-type

firearm upper assembly holds the device in place within the fire-control cavity. When an M16-

type bolt carrier strikes the top of the device as it moves forward into battery, the front portion

of the device moves down, thereby pushing down on the disconnector and releasing the

hammer from under the disconnector hook. As long as the trigger is held back, the rearward

movement of the bolt carrier will cock the hammer under the disconnector hook. The forward

movement of the bolt carrier will strike the top portion of the device just as the bolt locks in

battery, automatically releasing the hammer and firing the weapon. When the trigger is

released, the sear surface of the trigger will capture the hammer in the cocked position

negating the operation resulting from the interaction of the swift link with the disconnector.

In my training and experience, I also know that these devices are referred to by different

names, including but not limited to:         “auto sears,” “convertors,” “Lightning Links,”

“conversion devices,” and “Swift-Links.”



       9.      Based on information gathered throughout the investigation as well as

photographs identified from CELENTANO’s social media accounts, law enforcement

believed that additional items of evidence were moved or disposed of prior to the execution

of the search warrant.       Specifically, during the investigation, law enforcement saw

photographs associated with CELENTANO that depicted a work bench, additional 3D

printed pistols, and AR-type firearms that appeared to be converted into fully automatic

machine guns. Their absence during the search of the residence led investigators to believe

the items were secreted or stored at another location.




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       10.    Prior to the execution of the search warrant at 23 Rochester St., law

enforcement obtained a search warrant for a GPS monitor to placed on the vehicle belonging

to Peter CELENTANO. In reviewing CELENTANO’s movements, investigators observed

what appeared to be a pattern that seemed inconsistent with CELENTANO’s daily routine.

Per the GPS monitor, a vehicle was observed traveling onto a property off Lakeshore Rd.,

Lyndonville, NY. The monitor was observed to travel onto the property, stay for

approximately forty minutes, and then leave. Based upon this information, law enforcement

determined the property off Lakeshore Rd. to be a potential dumping/stash sight of evidence.



       11.    Law enforcement proceeded to the property located at 11652 Lakeshore Rd.,

Lyndonville, NY. Law enforcement were able to contact the landowner, G.S., who agreed to

meet them at the property. Once on location, G.S. provided permission for law enforcement

to search his property. Law enforcement proceeded onto the property, accompanied by G.S.,

and came upon an unlocked RV. Within the RV were two black totes with yellow lids. G.S.

stated that they were not his and that he gave no one permission to store anything on his

property. Further down the property, law enforcement discovered a shed. Within the shed,

law enforcement uncovered numerous black totes with yellow lids, a work bench with stickers

adhered to the front of it, as well as black weatherproof cases with padlocks attached to them.

None of these items belonged to the landowner, G.S.



       12.    While on scene, law enforcement received a phone call from M.S., the son of

the landowner G.S., who informed law enforcement of additional items that were contained

within his apartment located at 567 East Ave Upper Apt., Medina, NY 14103. M.S. told law




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enforcement to come recover the items from his apartment. Law enforcement proceeded to

567 East Ave Upper Apt., Medina, NY 14103.



       13.    Upon arrival at 567 East Ave, law enforcement met with M.S. and G.S. within

the upper apartment. M.S. allowed investigators to take possession of the items that were

concealed there. M.S. informed law enforcement that it was Peter CELENTANO who had

concealed the items there. Law enforcement interviewed M.S., who provided the following

information. M.S. stated that he was aware CELENTANO was in possession of 3D printed

pistols and machineguns, that he created firearms from 80% lowers (described above in

paragraph 7), and that he utilized a Twitter/“X” account under the username of

Freeman13372. M.S. stated he assisted CELENTANO transferring the items into his

apartment. M.S. stated that CELENTANO was storing the items at his apartment because he

was in the process of moving. Law enforcement took possession of the items CELENTANO

secreted within M.S.’s apartment, including but not limited to: two (2) black totes with yellow

lids, two (2) 3D printers, two (2) plate carries, over twenty (20) 3D printed handguns,

additional weatherproof containers with padlocks attached to them, among other items.



       14.    Law Enforcement was also contacted by a B.M. at 2117 S. Lyndonville Rd.,

Lyndonville, NY 14098. B.M. stated that CELENTANO called him and asked if he could

store some items on his property. B.M. allowed CELENTANO to store eight locked

weatherproof containers inside of his shed at 2117 S. Lyndonville Rd. B.M. stated that he

asked CELENTANO why they were locked and CELENTANO replied that they were

expensive camera equipment. B.M. stated that he received a call from his friend M.S. stating




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that if CELENTANO dropped anything off at my property to let the police know. B.M.

turned over the eight weatherproof cases to law enforcement.



       15.    On September 30, 2024, the original NYS search Warrant for 23 Rochester was

amended to include the locked boxes recovered from the property located at 11652 Lakeshore

Rd, Lyndonville; M.S.’s apartment at 567 East Ave, Medina, NY; and B.M.’s shed located

at 2117 S. Lyndonville Rd., Lyndonville, NY. Within the locked weatherproof containers,

law enforcement uncovered numerous AR-style lower receivers, 3D printed handguns, and

additional firearm parts and accessories. Further examination of these AR-style lower

receivers revealed that some contained two M16-type automatic sear pin holes properly

located above the selector lever holes on the left and right sides of the receiver. The automatic

sear pin holes serve only to provide a mounting position for the automatic sear on select fire

M16-type machineguns. The presence of automatic sear pin holes on the receiver classifies it

as the receiver of a “machinegun.” ATF classifies machinegun receivers based upon the

design feature that results in automatic fire. For this reason, ATF classifies any AR-type

receivers with properly located automatic sear pin holes as machinegun receivers. Properly

located automatic sear pin holes constitute the critical defining feature of an M16-type

machinegun receiver. Approximately fifty-nine (59) AR-style receivers containing the “third

pin hole” were observed from the locked weatherproof containers.



       16.    On October 7, 2024, law enforcement contacted M.S. and conducted an

additional interview. M.S. again stated that he was aware CELENTANO liked to build AR-

style firearms out of 80% lowers and that he also was aware CELENTANO liked to build 3D



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printed handguns. M.S. was also aware CELENTANO was building machineguns and that

he was testing them at the property located off Lakeshore Rd.                 M.S. stated that

CELENTANO provided him a total of nine (9) lower receivers and that two of those lower

receivers did contain the “third pin hole,” making them machineguns. M.S. stated he knew

of the 3D printed auto sears (machinegun conversion devices) possessed by CELENTANO

and that he brought them to property located off Lakeshore Rd. to use. M.S. stated that he

utilized the machinegun conversion device himself and confirmed that it did cause a firearm

to function in a fully automatic capacity. M.S. stated that his father, G.S., disposed of the

firearms that were provided to him by CELENTANO. During the interview M.S. was able

to contact his father, G.S., who stated that he disposed of the firearms off the Beals Rd. bridge

into the Erie Canal.



       17.    On October 9, 2024, ATF and Genesee County Sheriff’s Office, with assistance

from the NYSP SORT dive team, began to search the Erie Canal beneath the bridge located

at Beals Rd., Medina, NY 14103. A cardboard box was located and retrieved from the bottom

of the canal under Beals Rd. bridge. Law enforcement retrieved the box and its contents. Law

enforcement recovered ten (10) AR-style receivers, one (1) unmarked handgun, magazines,

and additional firearm parts.



       18.    On October 10, 2024, your affiant provided a photo of the two (2) machinegun

conversion devices described within paragraph 6 and a photo containing eleven of the AR-

style receivers to the ATF’s Firearms and Ammunition Technology Division (FATD). Based

on the photographs, FATD was able to state that the image containing the two (2)




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machinegun conversion devices were consistent with machinegun conversion devices that

have been previously classified by FATD as machinegun conversion devices. FATD also

provided that within the photograph containing the eleven AR-style receivers, ten (10) of them

appeared to be machinegun receivers via the third pin holes. This was a preliminary

classification, and law enforcement will send all items to FATD for an official determination.

The photos your affiant provided to FATD are depicted below:




       19.    Your affiant requested a records check from the ATF National Firearms Act

(NFA) Branch to determine if Peter CELENTANO has or had any NFA weapons registered

with the ATF. No record of Peter CELENTANO exists as ever having registered any NFA

weapons.




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       20.   Based on the above information, your affiant submits there is probable cause to

believe that Peter CELENTANO violated Title 18, United States Code, Sections 922(o) and

924(a)(2).



       21.   I request that this affidavit and criminal complaint remain sealed until Peter

CELENTANO is arrested, or the Court orders it to be unsealed, whichever occurs first.

                                                                      Digitally signed by JOHN
                                                 JOHN                 NOWAK
                                                                      Date: 2024.10.17 10:38:43
                                                 NOWAK                -04'00'
                                                 John J. C. Nowak
                                                 Special Agent
                                                 Bureau of Alcohol, Tobacco,
                                                 Firearms, Explosives




Subscribed and sworn to before me telephonically
this 17th day of October, 2024.


                                                 ___
HONORABLE JEREMIAH J. MCCARTHY
United States Magistrate Judge




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